Case 3:09-cr-03134-W       Document 219      Filed 03/04/13   PageID.769        Page 1 of 7



 1
 2
 3
 4
 5
 6
 7
 8                      UNITED STATES DISTRICT COURT
 9                    SOUTHERN DISTRICT OF CALIFORNIA
10
11    FRANCISCO JOEL                                   CASE NO. 12-CV-2104 W
      MONTELONGO-MONTEON,                                       12-CV-2105 W
12                                                              09-CR-3133 W
13                       Defendant-Petitioner,                  09-CR-3134 W
               v.
14                                                     ORDER DENYING MOTION
15    UNITED STATES OF AMERICA,                        TO VACATE [DOC 194.]
16
                                   Respondent.
17
18         On August 24, 2012, Petitioner Francisco Joel Montelongo-Monteon
19 (“Petitioner”), a federal prisoner proceeding pro se, commenced this Section 2255
20 habeas corpus proceeding1 (Pet. [Doc. 194].2) On October 22, 2012, Respondent
21 United States of America (“Respondent” or “Government”) filed a Response in
22 Opposition to Petitioner’s Motion for Relief under 28 U.S.C. § 2255 (Respt’s Opp’n
23 (“Opposition”) [Doc. 200]). On November 15, 2010, Petitioner filed a Reply to
24
25
26         1
           Petitioner filed the instant § 2255 motion in connection with Criminal Case Nos. 09-
27 CR-3133  and 09-CR-3134. The Court opened two civil cases, Civil Case Nos. 12-CV-2104
   and 12-CV-2105, corresponding to these two cases.
28
           2
               Unless otherwise specified, all docket references refer to Case No. 09-CR-3133 W.

                                                 -1-            09cr3133 / 09cr3134 / 12cv2104/12cv2105
Case 3:09-cr-03134-W        Document 219     Filed 03/04/13   PageID.770       Page 2 of 7



 1 Respondent’s Opposition to Motion to Vacate under 28 U.S.C. § 2255 (Petr’s Reply
 2 (“Reply”) [Doc. 202]).
 3         The Court decides the matter on the papers submitted and without oral
 4 argument. See Civil Local Rule 7.1 (d.1). For the reasons stated below, the Court
 5 DENIES the Motion to Vacate.
 6
 7 I.      BACKGROUND
 8         On August 21, 2009, a federal grand jury returned two indictments against
 9 Petitioner, indictment 09-CR-3133 W, and indictment 09-CR-3134 W. Indictment 09-
10 CR-3133 W contained counts for: (Count 1)conspiracy to import 100 kilograms or more
11 of marijuana in violation of 21 U.S.C. §§ 952, 960, and 963; (Count 2)conspiracy to
12 distribute 100 kilograms or more of marijuana in violation of 21 U.S.C. §§ 841(a)(1) and
13 846; (Count 3) knowingly and intentionally possessing 50 kilograms or more of
14 marijuana with intent to distribute in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C.
15 § 2; and (Count 4) knowingly and intentionally possessing 100 kilograms or more of
16 marijuana with intent to distribute in violation of 21 U.S.C. §841(a)(1) and 18 U.S.C.
17 § 2. (See Indictment 09-CR-3133 W [Doc. 1].)
18         Indictment 09-CR-3134 W contained counts for: (Count 5)conspiracy to import
19 1000 kilograms or more of marijuana in violation of 21 U.S.C. §§ 952, 960, and 963;
20 (Count 6) conspiracy to distribute 1000 kilograms or more of marijuana in violation of
21 21 U.S.C. §§ 846(a)(1) and 846; (Count 7) knowingly and intentionally possessing 100
22 kilograms or more of marijuana with intent to distribute in violation of 21 U.S.C. §
23 846(a)(1) and 18 U.S.C. § 2; and (Count 8)knowingly and intentionally possessing 100
24 kilograms or more of marijuana with intent to distribute in violation of 21 U.S.C. §
25 846(a)(1) and 18 U.S.C. § 2. (See Indictment 09-CR-3134 W [Doc. 1].3)
26         On August 25, 2009, law enforcement arrested Petitioner. On March 31, 2011,
27 Petitioner entered into a plea agreement with Respondent and Petitioner pled guilty to
28
           3
               This docket reference refers to Case No. 09-CR-3134 W.

                                                 -2-           09cr3133 / 09cr3134 / 12cv2104/12cv2105
Case 3:09-cr-03134-W      Document 219       Filed 03/04/13    PageID.771       Page 3 of 7



 1 participating in a conspiracy to import over 100 kilograms of marijuana and a conspiracy
 2 to distribute over 1000 kilograms of marijuana. (Plea Agreement (“Plea Agreement”) 2
 3 [Doc. 164].) In exchange for Petitioner’s guilty plea and a stipulated 144 month
 4 sentence, Respondent dismissed the six counts remaining against Petitioner. (Id. at
 5 2,10.) On May 13, 2011, the United States Probation Office filed a pre-sentence report
 6 that explained that sentencing guidelines for the remaining counts were 120 to 135
 7 motnhs. (Pre-Sentence Report (“PSR”) 24 [Doc.170].)
 8          Petitioner’s Plea Agreement included an appeal waiver that stated:
 9          In exchange for the Government's concessions in this plea agreement,
            [Petitioner] waives, to the full extent of the law, any right to appeal or to
10          collaterally attack the conviction and sentence, including any restitution
            order, unless the Court imposes a custodial sentence above the greater of
11          the high end of the guideline range recommended by the Government
            pursuant to this agreement at the time of sentencing[.]
12
     (Plea Agreement 11). The plea agreement also provided:
13
            By signing this agreement, [Petitioner] certifies that [Petitioner] has read
14          it (or that it has been read to [Petitioner] in [Petitioner’s] native language).
            [Petitioner] has discussed the terms of this agreement with defense counsel
15          and fully understands its meaning and effect . . . [Petitioner] has consulted
            with counsel and is satisfied with counsel’s representation.
16
     (Plea Agreement 12-13). Defendant signed the Plea Agreement and initialed each page.
17
     (See id.)
18
            On August 31, 2011, the Court accepted the Plea Agreement and sentenced
19
     Petitioner to 144 months in prison. (Judgment [Doc.190].) On August 24, 2012,
20
     Petitioner commenced this proceeding and filed a Motion to Vacate pursuant to 28
21
     U.S.C. § 2255, alleging his circumstances fit an exception to the appeal waiver, allowing
22
     him to collaterally attack his sentence for ineffective assistance of counsel. (Pet. [Doc.
23
     194). Respondent opposes.
24
25
     II.    LEGAL STANDARD
26
            Under 28 U.S.C. § 2255, a federal sentencing court is authorized to discharge or
27
     re-sentence a defendant if it concludes that “the sentence was imposed in violation of
28
     the Constitution or laws of the United States, or that the court was without jurisdiction

                                                  -3-           09cr3133 / 09cr3134 / 12cv2104/12cv2105
Case 3:09-cr-03134-W     Document 219      Filed 03/04/13   PageID.772         Page 4 of 7



 1 to impose such sentence, or that the sentence was in excess of the maximum authorized
 2 by law, or is otherwise subject to collateral attack.” 28 U.S.C. § 2255(a). This statute
 3 is intended to alleviate the burden of habeas corpus petitions filed by federal prisoners
 4 in the district of confinement, by providing an equally broad remedy in the more
 5 convenient jurisdiction of the sentencing court. See United States v. Addonizio, 442
 6 U.S. 178, 185 (1979); Hernandez v. Campbell, 204 F.3d 861, 864 n.4 (9th Cir. 1999).
 7         The remedy available under § 2255 is as broad and comprehensive as that
 8 provided by a writ of habeas corpus. See United States v. Addonizio, 442 U.S. 178, 184-
 9 85 (1979). But this “does not encompass all claimed errors in conviction and
10 sentencing.” Id. at 187. A mere error of law does not provide a basis for collateral attack
11 unless the claimed error “resulted in a complete miscarriage of justice or in a proceeding
12 inconsistent with the rudimentary demands of fair procedure.” Hamilton v. United
13 States, 67 F.3d 761, 763-64 (9th Cir. 1995) (quoting United States v. Timmreck, 441
14 U.S. 780, 783-84 (1979)).
15
16 III.    DISCUSSION
17         Petitioner contends his circumstances fit an exception to the appeal waiver,
18 allowing him to collaterally attack his sentence for ineffective assistance of counsel. (See
19 Pet.;Petr’s Reply.) Respondent argues the appeal waiver precludes Petitioner from
20 collaterally attacking his sentence. (See Respt’s Opp’n.)
21         Federal courts have repeatedly upheld the validity of appeal waivers on public
22 policy grounds. See United States v. Navarro-Botello, 912 F.2d 318, 321-22 (9th Cir.
23 1990); see also United States v. Wiggins, 905 F.2d 51, 53 (4th Cir. 1990). Courts will
24 enforce a Petitioner’s appeal waiver if (1) the waiver is knowingly and voluntarily made,
25 and (2) the waiver, by its terms, waives the right to appeal. United States v. Nunez, 223
26 F.3d 956, 958 (9th Cir. 2000). The same standard applies to waivers of collateral attack.
27 See United States v. Abarca, 985 F.2d 1012, 1014 (9th Cir. 1993).
28

                                                -4-            09cr3133 / 09cr3134 / 12cv2104/12cv2105
Case 3:09-cr-03134-W     Document 219      Filed 03/04/13   PageID.773        Page 5 of 7



 1         A.    PETITIONER KNOWINGLY AND VOLUNTARILY ENTERED INTO THE PLEA
                 AGREEMENT.
 2         In analyzing the knowing and voluntary nature of Petitioner’s waiver, the Court
 3 considers the circumstances surrounding the Plea Agreement’s signing and entry. United
 4 States v. Baramdyka, 95 F.3d 840, 843 (9th Cir. 1996). Additionally, a properly argued
 5 claim of ineffective assistance of counsel may render a appeal waiver unenforceable
 6 when the ineffective counsel claim challenges the voluntariness of the appeal waiver
 7 itself. Guerra-Tapia v. United States, 2010 WL 4009424, at *1 (S.D. Cal. Oct. 8, 2010)
 8 (citing Washington, 422 F.3d at 871).
 9         Here, the circumstances indicate Petitioner voluntarily and knowingly waived his
10 appeal rights, and Petitioner’s ineffective assistance of counsel claim insufficiently
11 challenges the voluntariness of the appeal waiver. Under the express terms of the Plea
12 Agreement, Petitioner certified he read the Plea Agreement (or had it read to him in his
13 native language), discussed its terms with defense counsel, and fully understood its
14 meaning and effect. (Plea Agreement 12-13.) Petitioner expressly acknowledged his
15 satisfaction with defense counsel’s representation. (Id. at 13). Nowhere does Petitioner
16 explicitly state he involuntarily or unknowingly waived his appeal rights. (See Pet.; Petr’s
17 Reply.) Petitioner’s only hint that Petitioner may have involuntarily waived his appeal
18 rights is buried in Petitioner’s Reply where Petitioner alleges his counsel made a
19 “spontaneous statement about waiving Petitioner’s appeal right without first consulting
20 with Petitioner about the appeal[.]” (Petr’s Reply 2.) However, the record strongly
21 controverts Petitioner’s claim that his counsel spontaneously waived his appeal. The
22 Plea Agreement bears Petitioner’s signature and initials certifying Petitioner voluntarily
23 and knowingly waived his rights, and Petitioner told the Court he had enough time to
24 talk to his attorney and he understood his Plea Agreement at his disposition hearing.
25 (Plea Agreement 11-13; Respt’s Opp’n, Ex. 4 at 4.) Under these circumstances, the Court
26 holds that Petitioner knowingly and voluntarily agreed to the waiver as contained in the
27 Plea Agreement.
28

                                                -5-           09cr3133 / 09cr3134 / 12cv2104/12cv2105
Case 3:09-cr-03134-W     Document 219     Filed 03/04/13   PageID.774        Page 6 of 7



 1         B.    THE LANGUAGE OF THE PLEA AGREEMENT EXPLICITLY WAIVES
                 PETITIONER’S RIGHT TO COLLATERALLY ATTACK HIS CONVICTION
 2               AND HE IS NOT ENTITLED TO AN EXCEPTION TO THE WAIVER.
 3         A valid waiver also must, by its terms, waive Petitioner’s right to attack his
 4 conviction or sentence. See Nunez, 223 F.3d at 958. In analyzing the terms of a waiver,
 5 courts apply contractual principles, including the parol evidence rule. Id. (citing United
 6 States v. Ajugwo, 82 F.3d 925, 928 (9th Cir. 1996)). Accordingly, courts examine the
 7 “plain language” of an instrument, and need not consider extrinsic evidence in the
 8 absence of facial ambiguity. Nunez, 223 F.3d at 958.
 9         Petitioner does not contest that the language of the Plea Agreement explicitly
10 waives his right to collaterally attack his conviction. He instead argues that the Court’s
11 144-month sentence exceeded the guideline range recommended by the Government,
12 entitling him to appeal. (Pet. 4). Petitioner is mistaken.
13         The Plea Agreement provides, in relevant part, that the Petitioner may not appeal
14 his sentence unless “the Court imposes a custodial sentence above the greater of the
15 high end of the guideline range recommended by the Government pursuant to this
16 agreement at the time of sentencing.” (Plea Agreement 11). Petitioner argues that this
17 condition for appeal was met because the Pre-Sentence Report included a guideline
18 range of 120 to 135 months for his sentence, which was exceeded by his actual sentence.
19 (Pet. 3; PSR 24.) While the sentence imposed does exceed the guidelines in the PSR,
20 it does not exceed the range “recommended by the Government pursuant to [the plea]
21 agreement at the time of sentencing.” Indeed, the sentence recommended by the
22 Government in the Plea Agreement and at the time of sentencing was 144 months. (Plea
23 Agreement 9; Sentencing Summary Chart [Doc. 188].) The record is replete with evidence
24 that Petitioner bargained for this144-month sentence. (See Plea Agreement; see also PSR
25 8; see also Sentencing Summary Chart.) The Court then imposed that exact sentence.
26 Because Petitioner’s sentence is consistent with the terms of the Plea Agreement and the
27 Government’s recommendations, Petitioner’s collateral attack is barred, and the Court
28 is prevented from granting the habeas relief requested.

                                               -6-           09cr3133 / 09cr3134 / 12cv2104/12cv2105
Case 3:09-cr-03134-W     Document 219      Filed 03/04/13    PageID.775       Page 7 of 7



 1          C.    PETITIONER IS NOT ENTITLED TO A CERTIFICATE OF APPEALABILITY.
 2         Pursuant to §2253, an appeal may not be taken from the final order in a
 3 proceeding under section 2255 unless the district court issues a certificate of
 4 appealability. F.R.C.P. § 2253(c). The denial of a habeas petition on the ground the
 5 right to collaterally attack the issue presented was knowingly and voluntarily waived is
 6 a denial on procedural grounds. See United States v. Bibler, 495 F.3d 621, 624(9th Cir.
 7 2007)(holding that waiver of appellate rights precludes substantive review.) “When the
 8 district court denies a habeas petition on procedural grounds without reaching the
 9 prisoner’s underlying constitutional claim, a COA should issue when the prisoner shows,
10 at least, that jurists of reason would find it debatable whether the petition states a valid
11 claim of the denial of a constitutional right and that jurists of reason would find it
12 debatable whether the district court was correct in its procedural ruling.” Slack v.
13 McDaniel, 529 U.S. 473, 484 (2000). Because Petitioner has not made a substantial
14 showing of the denial of a constitutional right, a certificate of appealability is not
15 warranted in this case.
16
17 VI.     CONCLUSION AND ORDER
18         For the reasons stated above, Petitioner Francisco Joel Montelongo-Monteon’s
19 Motion to Vacate under 28 U.S.C. § 2255 [Doc. 194] is DENIED. The Court DENIES
20 issuance of any certificate of appealability in this action. The Clerk of the Court shall
21 close the district court file in both associated civil cases.
22         IT IS SO ORDERED.
23
24 DATED: March 4, 2013
25
26                                             Hon. Thomas J. Whelan
                                               United States District Judge
27
28

                                                -7-           09cr3133 / 09cr3134 / 12cv2104/12cv2105
